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                    EXHIBIT 17
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                                                                       Page 1

1
2       IN THE UNITED STATES BANKRUPTCY COURT
3       FOR THE DISTRICT OF DELAWARE
4       Chapter 11
5       Case No. 14-10979 (CSS)
6       -----------------------------------x
7       In Re:
8          ENERGY FUTURE HOLDINGS CORP., et al.,
9                                 Debtors.
        -----------------------------------x
10                                   October 7, 2014
11                                   9:34 a.m.
12
13              Videotaped Deposition of ANTHONY
14      HORTON, pursuant to Notice, held at the
15      offices of Ropes & Gray LLP, 1211 Avenue
16      of the Americas, New York, New York,
17      before Todd DeSimone, a Registered
18      Professional Reporter and Notary Public of
19      the State of New York.
20
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22
23
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25

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1                                HORTON
2              A.         That's correct, capital raise,
3       fundraising.
4              Q.         Who has the final say on those
5       decisions historically within EFH?
6              A.         The board.
7              Q.         And at EFIH?
8              A.         It depends on at which entity
9       that we are raising those funds.                         So if I
10      were raising capital at EFIH, it would be
11      the EFIH board.           If it were at EFH, it
12      would be at EFH, although EFH ultimately,
13      you know, has an umbrella view into what
14      is going on with the subsidiaries.
15      Raising capital at TCH, it would also be
16      at the TCH board.            And many occasions at
17      EFH, you may see dual authorization.
18             Q.         Now, you said that you reviewed
19      these bidding procedures and the motion;
20      is that correct?
21             A.         That's correct.
22             Q.         Who at the company approved
23      them?
24             A.         I would suggest that the
25      executive management, including the

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1                                HORTON
2       stalking horse process under these bidding
3       procedures.
4              Q.         Am I correct, though, that
5       there was no vote?
6              A.         You are correct.
7              Q.         What's the most pointed
8       question that occurred in those board
9       meetings that you recall?
10             A.         I think the most pointed
11      question was around the market risk that
12      we were taking by going down a path of
13      longer time period.             We had some parties
14      who were very interested in entering into
15      the stalking horse agreement.                         So there
16      was a lot of dialogue around that risk,
17      should we be taking that risk for the
18      estate of not going ahead and locking in a
19      stalking horse at this point in time and
20      then later on continuing through an
21      auction process.
22                        Those were the most pointed
23      conversations that I recall.
24             Q.         Do you recall who asked those
25      questions?

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1                                HORTON
2              Q.         At any time up to the filing,
3       had you ever heard anybody within EFIH,
4       including the board, refer to the Oncor
5       stake as a volatile asset?
6              A.         No.
7              Q.         In words or substance, I don't
8       mean it doesn't have to say volatile, that
9       the Oncor stake was subject to significant
10      moves in valuation within a definitive
11      period?
12             A.         When I answered your question
13      in terms of volatile, what I was referring
14      to is in terms of the business operations,
15      their revenue streams, their net income,
16      that's a fairly stable, predictable
17      business.
18                        Obviously any business is
19      subject to general market volatility,
20      depending on interest rates, growth rates;
21      heck, that company was formed in '07, and
22      I'm sure you lived through '08.
23             Q.         Sure.      Isn't it true that every
24      business was volatile in '08, right?
25             A.         Right.       It is market

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1                                HORTON
2       500?
3              A.         Or the, you know, utility
4       index.      Nobody mentioned the utility
5       index.      I'm saying specifically --
6              Q.         So general stock market
7       movement?
8              A.         Equity market movements.
9              Q.         Okay, equity market movements.
10                        Was any risk identified that
11      didn't exist for EFIH since you joined
12      with respect to the Oncor stake?
13             A.         What do you mean?
14             Q.         Well, I think your testimony
15      was since you joined EFIH in 2007, the
16      Oncor stake has been subject to interest
17      rate risk?
18             A.         I think a valuation of Oncor is
19      somewhat correlated to interest rates.
20             Q.         And that has been true since
21      2007?
22             A.         Probably longer than that.
23             Q.         In fact, it has been true since
24      the people who bought the EFIH first lien,
25      second lien, and PIK paper have been

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1                                HORTON
2       around?
3              A.         Probably.
4              Q.         And then trading multiples, the
5       Oncor stake, the value of the Oncor stake
6       has always been correlated to what people
7       are willing to pay for similar public
8       utilities, right?
9              A.         Obviously there is some
10      exceptions, but yeah.
11             Q.         Which exceptions are those?
12             A.         Well, Oncor is unique in that
13      it doesn't have retail customers.                          It
14      doesn't have generation.                  It is a, you
15      know, pure delivery infrastructure
16      business.
17             Q.         So that would mean you just
18      have to pick your comparables when you are
19      looking at multiples correctly because
20      this is a pure-play transmission utility?
21             A.         You need to look at many
22      comparables.
23             Q.         And general equity market
24      movements, I take it that since 2007 the
25      value of the Oncor stake has always been

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1                                HORTON
2       meetings that the stakeholders, the
3       parties who were going to receive the
4       economic value of the sale of Oncor, had
5       all accepted general market risk when they
6       decided to lend to either EFIH or EFH?
7              A.         No.     I think we operated under
8       the general principle that I discussed.
9              Q.         Do you recall any discussion at
10      the meeting which quantified the
11      volatility of the Oncor stake, that is
12      expressing a view as to the range of
13      potential upward and downward movements
14      over the next 12 to 18 months?
15             A.         No.
16             Q.         Did anybody discuss that, in
17      other words, was there any way for a board
18      member of EFIH or EFH to know what another
19      board member was thinking of as to the
20      risk, the actual amount of risk?
21                        MS. O'CONNOR:             I object to
22      form.
23             Q.         Let me explain it.
24                        Is it possible in your mind
25      that based on what you have been saying

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